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CO 526 Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA )
)
vs. ) Criminal Case No.: 17'CR'201'2 §ABJ )
)
)
RlCHARD W. GATES, 111 ) F I L E D
)
FEB 2 3 2018
Clerk. U. S. District & Bankruptcy
WAIVER OF TRIA/L BY JURY Courts for the D|str|ct of Co|umbla
dev //¢¢.@_-:a .s 157/32
With the consent of the béed-:{SH-teh°ctmm€y and the approval of the Court, the defendant

Waives his right to trial by jury.

¢;W

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Counsel for Defendant

Defe

jfy;¢;/f y&#/MMW

!prroved

Date: February 23, 2018

 

United States Dis?és\_[u_c_|,gr/
Amy Berman Jackson

